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1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                     ***

4

5     UNITED STATES OF AMERICA,

6                           Plaintiff,                   2:12-cr-00463-JCM-VCF

7     vs.                                                ORDER

8     DENISE WILLIAMS,

9                           Defendant.

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11            Before the court is United States of America v. Denise Williams, case no. 2:12-cr-00463-JCM-

12   VCF.

13            IT IS HEREBY ORDERED that the competency hearing of Denise Williams and the hearing on

14   the government’s sealed motion for psychiatric or psychological examination and report (#384) scheduled

15   for 11:00 a.m., January 9, 2015 are VACATED and rescheduled for 3:00 p.m., January 20, 2015, in

16   courtroom 3D.

17            IT IS FURTHER ORDERED that any opposition to the motion for psychiatric or psychological

18   examination and report (#384) is due on or before January 13, 2015.

19            DATED this 7th day of January, 2015.

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22                                                             CAM FERENBACH
                                                               UNITED STATES MAGISTRATE JUDGE
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